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1     Matthew A. Rosenthal (SBN 279334)
      matt@westgatelaw.com
2     Westgate Law
      15760 Ventura Blvd, Suite 880
3     Los Angeles, CA 91436
      Tel: (818) 200-1497
4     Fax: (818) 574-6022
      Attorneys for Plaintiff,
5     REFUGIO RIVERA
6
                              IN THE UNITED STATES DISTRICT COURT
7                               CENTRAL DISTRICT OF CALIFORNIA
                                        WESTERN DIVISION
8

9
      REFUGIO RIVERA,                   )                 Case No.: 2:15-9163
10                                      )
                                        )                 PLAINTIFF’S NOTICE OF
11              Plaintiff,              )                 VOLUNTARY DISMISSAL WITH
                                        )                 PREJUDICE PURSUANT TO FEDERAL
12        v.                            )                 RULE OF CIVIL PROCEDURE 41(a)(1)
                                        )
13                                      )
      WHEELS FINANCIAL GROUP, LLC d/b/a )
14    LOANMART,                         )
                                        )
15                                      )
                Defendant.              )
16

17
             PLEASE TAKE NOTICE that Plaintiff Refugio Rivera, pursuant to Fed. R. Civ. P.
18
      41(a)(1)(A)(i), gives notice that she voluntarily dismisses all claims in this action as to herself in
19
      her individual capacity with prejudice. Defendant Wheels Financial Group, LLC d/b/a Loanmart
20
      has neither answered Plaintiff’s Complaint, nor filed a motion for summary judgment.
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      Accordingly, this matter may be dismissed with prejudice without an Order of the Court.
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                                            NOTICE OF SETTLEMENT
                                                     -1-
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1                                                  RESPECTFULLY SUBMITTED,

2
       DATED: January 21, 2016                     WESTGATE LAW
3

4                                         By: /s/ Matthew A. Rosenthal
                                                  Matthew A. Rosenthal
5                                                 Attorney for Plaintiff
6

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9
                                       CERTIFICATE OF SERVICE
10
        I hereby certify that on January 21, 2016, I filed the forgoing document with the Clerk of the
11
      Court using the CM/ECF System. I further certify that on January 21, 2016, a copy of the forgoing
12
      was served upon Defendant via email transmission to the following:
13

14    Anni Vartanian
      Staff Attorney
15    Wheels Financial Group, LLC
      dba LoanMart
16    15821 Ventura Blvd., Suite 280
      Encino, California 91436
17
                                                 By:/s/ Matthew A. Rosenthal
18
                                                        Matthew A. Rosenthal
19

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                                          NOTICE OF SETTLEMENT
                                                   -2-
